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Exhibit 1
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SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
CRIMINAL DIVISION
UNITED STATES
VS
CRUDUP, DALONTA VALERI
CCN #: 20007295
Arrest Number: 102001378

The event occurred on 01/12/2020 at approximately 23:28 at 2513 14TH STREET NE, WASHINGTON, DC 20018

 

 

BWC activated.

On Sunday January 12, 2020 at approximately 2300 hours, members of the Gun Recovery Unit were on patrol in the

2500 block of 14" Street NE Washington, DC in PSA 505 after a recent span of shootings as well as a homicide.
Officer Minzak (driver), Officer Joseph (front passenger), Officer Laury (rear left passenger) and Officer Choi (rear
right passenger) were operating in a silver unmarked Chevrolet Malibu. All aforementioned officers were dressed in
casual attire wearing outer vests with “POLICE” identifiers affixed to them.

As officers were traveling southwest on 14" Street NE they observed D-1 walking on the sidewalk with a black
backpack in his right hand. D-1 then looked over his shoulder observing police presence and immediately took the
backpack, put both straps around his shoulders, placed it on his back and continued walking southwest down the
sidewalk. Officers exited their vehicle to make contact with D-1. Officer Laury identified herself to D-1 and then
asked if D-1 had any weapons on him. D-1 replied “no’’. Officer Laury then asked if there was anything in D-1’s
backpack. At this time Officer Minzak, Officer Choi and Officer Joseph were on scene with Officer Laury and D-1 at
which point D-1 made sure to keep the backpack out of officers’ sights. When an officer would move, D-1 would shift
his body as if to blade the backpack away from officers. D-1 then pressed the back of his body against a chain-link
fence, which was about half the height of his body, creating the backpack to naturally lay overtop of the top of the
fence. Officer Laury then voiced to D-1 her concern about D-1’s actions of leaning back against the fence. D-1 then
took his backpack off and continued repeating “I don’t have no weapons” and then shook his backpack a few times.
When D-1 shook his backpack, officers could hear what seemed to be a hard object. D-1 then stated it was his phone
that made the sound in his backpack. Officer Laury then advised D-1 that she just saw D-1 with his phone in his hand
and D-1] never placed the phone back in his backpack. D-1 then took his phone out of his front jacket pocket, not his
backpack, and began utilizing it. At this point, due to D-1’s actions, movements and responses to officers, officers
believed D-1 was in possession of a firearm or illegal contraband located in his backpack.

Officer Choi then attempted to remove the bag from D-1’s immediate possession based on the safety concerns. D-1
then said ‘it’s weed”. Officer Choi touched the exterior part of the bag and immediately felt what he recognized to be
more than two ounces of marijuana. When Officer Choi tried to remove the backpack from D-1, D-1 immediately
clenched onto the top hook part of the backpack as tightly as possible and would not let go. It took multiple attempts
for officers to retrieve the backpack from D-1 due to his consistent resisting. Officer Choi then further searched the
backpack and observed a black in color pistol. Officer Choi voiced the predetermined code word for the presence of a
firearm to alert his fellow officers at which time D-1 was then secured in handcuffs.

Crime Scene Officer Anderson responded to the scene to recover the pistol and process it for DNA and latent prints.
Make: M&P

Model: Bodyguard

Cal: 380

Serial: KEY0376

Ammo: Six rounds of ammunition in the magazine and zero rounds in the chamber

At the time of the recovery, the pistol appeared to be fully functional, designated to expel a projectile by the action of
an explosive, has a barrel length of less than 12 inches and is capable of being fired by use of a single hand.

 

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Additionally, inside of D-1’s backpack was a large clear plastic bag containing 136 grams of a green leaf-like
substance (with packaging) and two 9mm firearm magazines, one loaded with eleven rounds of ammunition. A small
portion of the substance was field tested by Officer Joseph and had a positive color reaction for THC.

Search incident to arrest, recovered as evidence from D-1’s person was a clear baggy containing 42 grams of a green
leaf-like substance (with packaging), a scale and $399 in US currency. A small portion of the green leaf-like substance
was field tested by Officer Joseph and had a positive color reaction for THC.

The amount of marijuana along with the scale and small denominations of US currency is consistent with that of
street level distribution and street level narcotics trafficking.

D-1 was identified by word of mouth as Crudup, Dalonta; DOB: I. A WALES/NCIC query of D-1’s
information revealed that at the time of arrest, D-1 did not have a valid permit to carry a pistol within the District of
Columbia, nor was one able to be obtained at the time of this report.

D-1 was placed under arrest for Carrying A Pistol Without A License, Possession With Intent To Distribute w/
Armed, Unregistered Ammunition and Possession of a Large Capacity Ammunition Feeding Device and transported
for processing.

 

 

 

The event and acts described above occurred primarily in the District of Columbia and were committed as described by defendant(s) listed
in the case caption.

Subscribed and sworn before me this 01/13/2020

 

 

CHOI, EDDIE / 10697 (01/13/2020) E-SIGNATURE MAKAL, LASHAY / 7097 (01/13/2020) E-SSIGNATURE
Police Officer / CAD# Unit Witness / Deputy Clerk

CHOI, EDDIE / 10697 MAKAL, LASHAY / 7097
Printed Name of Member / CAD# Printed Name of Witness / Deputy Clerk

The foregoing statement was made under penalty of criminal prosecution and punishment for false statements pursuant to D.C. Code 22-2405
